     Case 3:17-cv-00939-WHA Document 1278-2 Filed 08/20/17 Page 1 of 2



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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
12                         Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                          DEFENDANTS UBER
13          v.                                            TECHNOLOGIES, INC. AND
                                                          OTTOMOTTO LLC’S
14   UBER TECHNOLOGIES, INC.,                             ADMINISTRATIVE MOTION TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    FILE DOCUMENTS UNDER SEAL
15
                           Defendants.
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3816351
     Case 3:17-cv-00939-WHA Document 1278-2 Filed 08/20/17 Page 2 of 2



 1          Upon consideration of Defendants Uber Technologies, Inc. and Ottomotto LLC’s
 2   (“Defendants”) Administrative Motion to File Documents Under Seal, and finding that good
 3   cause exists, this Court hereby GRANTS Defendants’ Administrative Motion to File Documents
 4   Under Seal and ORDERS that the following documents shall be sealed, as indicated below:
 5

 6    Title of Document                                     Portions to Be Filed Under Seal
 7    Motion to Compel 30(b)(6) Topics                         Highlighted Portions (green)
 8    Declaration of Esther Chang                              Highlighted Portions (green)
 9    Exhibits 1, 6, 7 & 8                                     Highlighted Portions (green)
10    Exhibits 2-5, 9-12                                                Entireties
11

12          IT IS SO ORDERED.
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14   Dated: _____________, 2017
                                                 HONORABLE WILLIAM ALSUP
15                                               United States District Judge
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3816351
